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                        EXHIBIT J
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Reply To
MICHAEL DELEVA
Direct Dial: (678) 510-1521
Michael.DeLeva@mgclaw.com

                                       June 30, 2023

Adams Chalmers
Backer & Kaufman
11770 Haynes Bridge Road
Alpharetta, GA 30009

         RE:       In re: City of Cumming
                   Date of Incident:    December 6th, 2022

Dear Mr. Kaufman:

      This letter is in response to Blount Construction Company Inc.’s (“Blount
Construction”) Ante Litem Notice under O.C.G.A. § 36-33-5 et seq. concerning Blount
Construction’s claims against the City of Cumming (“the City”) and its Representatives
and Agents relating to an alleged water tower failure on December 6, 2023 (“the Ante
Litem Notice”). Please consider this letter the City’s response to the Ante Litem Notice
and the offer of settlement under Rule 408 made therein.

      Initially, your Notice is incorrect with regard to the available liability limits, which
are $1,000,000. A copy of the City’s declarations page is attached hereto.

       At this time, based on the information available, the City rejects Blount
Construction’s offer of settlement to resolve the alleged claims and damages set forth
in the Ante Litem Notice. Underlying this rejection is the City’s position that it neither
negligently installed maintained, failed to maintain the water tower and feeder pipes
above and abutting Blount’s Property located at 911 Canton Highway, Cumming,
Georgia 30040 (“the Property”), nor did it proximately cause the damages allegedly
incurred by Blount Construction. The City also disputes that the alleged tower failure
was not caused by acts and/or omissions of entities other than the City, including but
not limited to Blount Construction and/or its predecessors in interest.

       The City further denies that it is liable for Blount Construction’s inverse
condemnation claim, continuing nuisance claim, failure to provide lateral support claim,
or trespass claim.

       The City also denies that a continuing trespass occurs every time a City official
steps foot onto Blount Construction Property, or that it has ever done so without
Blount’s consent or without statutory exception. The City contends its agents contacted
Blount before any entry onto Blount’s property, including but not limited to entry into
the airspace above Blount’s property, and Blount each time either expressly consented
or certainly voiced no objection or concern related to the entry of the City’s agents.


                                         270 PEACHTREE ST. NW, STE 1800    678.500.7300 PHONE
MCANGUS GOUDELOCK & COURIE LLC
                                         POST OFFICE BOX 57365 (30343)     678.669.3546 FAX
                                         ATLANTA, GA 30303                 WWW.MGCLAW.COM
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        The Ante Litem Notice makes allegations with respect to open records request
violations, which are without any legal or factual support and which the City denies. As
was explained in prior correspondence, your request failed to comply with O.C.G.A. §
50-18-70, et. seq., and this assertion was never contested nor cured. Furthermore, the
City contends all documents withheld from production were proper in light of the
exceptions to the Open Records Act.

        While the City expressly denies liability for any of the claims alleged in the Ante
Litem Notice, the City likewise denies that the alleged business losses and profits are
reasonable, based on the limited information provided in the Ante Litem Notice, or that
Blount should be owed attorneys’ fees, costs, and expenses for any of the claims set
forth in the Ante Litem Notice.

      This City hereby rejects Blount Construction’s offer of settlement and
compromise under Rule 408 to resolve all claims and damages set forth in the Ante
Litem Notice. This response and denial is in good faith and is based on the information
provided to date. If you would like to discuss this further, or if there is any additional
information you would like to be evaluated, please do not hesitate to contact me.


                                                Very truly yours,



                                                W. Jason Pettus

WJP/wjp
Enclosure
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                                                    Issued by The Stock Insurance Company                              Policy Number
                                                                                                                          S   2536942
                                  SELECTIVE WAY INSURANCE COMPANY
                                  WANTAGE AVENUE, BRANCHVILLE, NJ 07890

                                        COMMERCIAL POLICY COMMON DECLARATION
                      Named Insured and Address                                                           Policy Period
                        CITY OF CUMMING                                                                   From: APRIL 1, 2022
                        100 MAIN ST
                        CUMMING, GA 30040-2499                                                            To:      APRIL 1, 2023
                                                                                                          12:01 A.M Standard Time At
                                                                                                          Location of Designated Premises.
                      Named Insured is:                                                                   Producer Number:
                        ASSN/LABOR/RE                                                                               00-09163-00000
                      Producer:           APEX INSURANCE AGENCY LLC
                                          GEORGIA

                                                                Schedule of Coverage
                                                                 COMMERCIAL PROPERTY COVERAGE
                                                            COMMERCIAL GENERAL LIABILITY COVERAGE
                                                                COMMERCIAL AUTOMOBILE COVERAGE
                                                              COMMERCIAL INLAND MARINE COVERAGE
40000FS 2536942 750




                                                                 COMMERCIAL UMBRELLA COVERAGE
                                                                   PUBLIC OFFICIAL LIABILITY
                                                                      PESTICIDE HERBICIDE
                                                                 POLICE PROFESSIONAL LIABILITY
                                                             COMMERCIAL ABUSE OR MOLESTATION COVG
                                                                   COMMERCIAL CRIME COVERAGE




                                PREMIUM INCLUDES        TERRORISM - CERTIFIED ACTS




                                  In return for payment of the premium, and subject to all the terms of this policy, we agree with
                                  you to provide the insurance indicated in the schedule above. Insurance is provided only for
                                  those coverages for which a specific limit is shown on the attached coverage declaration(s).


                      PAYMENT METHOD                              Total Policy Premium
                      REG - 1                                       (This premium may be subject to adjustment.)
                      Date Issued:      APRIL 12, 2022
                      Issuing Office:   SOUTHERN REGION
                                                                           Authorized Representative




                      IL-7025 (11/89)

                                                                        INSURED'S COPY
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